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                           UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


  F.V. and DANI MARTIN,
                                                      Case No. 1:17-CV-00170-CWD
                        Plaintiffs,

          v.                                          JUDGMENT

  RUSSELL BARRON, in his official
  capacity as Director of the Idaho
  Department of Health and Welfare;
  ELKE SHAW-TULLOCH, in her official
  capacity as Administrator of the Division
  of Public Health for the Idaho
  Department of Health and Welfare; and
  JAMES AYDELOTTE, in his official
  capacity as State Registrar and Chief of
  the Bureau of Vital Records and Health
  Statistics,

                        Defendants.




       In accordance with the Court’s Memorandum Decision and Order (Dkt. 28), and

Plaintiffs’ and Defendants’ Notice and Stipulation Regarding Judgment and Time for Bill of

Costs and Motion for Attorneys’ Fees (Dkt. 42), IT IS HEREBY ORDERED, ADJUDGED,

AND DECREED that:

       (1)     Judgment is entered in favor of Plaintiffs;

       (2)     The policy of automatically rejecting applications from transgender people to




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change the sex listed on their birth certificates violates the Equal Protection Clause of the

Fourteenth Amendment to the United States Constitution;

       (3)     Defendants and their officers, employees, and agents are permanently enjoined

from practicing or enforcing the policy of automatically rejecting applications from transgender

people to change the sex listed on their birth certificates;

       (4)     Such applications must be reviewed and considered through a constitutionally-

sound approval process; upon approval, any reissued birth certificate must not include record of

amendment to the listed sex; and where a concurrent application for a name change is submitted

by a transgender individual, any reissued birth certificate must not include record of the name

change;

       (5)     On March 20, 2018, the Board of Health and Welfare convened a special session

where it considered and approved revisions to IDAPA 16.02.08.201 through a temporary and

proposed rule (“Rule”), Dkt. 42-1. The Rule requires the Registrar to issue an amended birth

certificate upon submission of, inter alia, “[a] declaration that the registrant’s indicator of sex on

the Idaho certificate of live birth does not match the registrant’s gender identity.” The Rule went

into effect on April 6, 2018, and Defendants have implemented it through a form and

instructions, Dkt. 42-2;

       (6)     The Rule complies with the Court’s holding that “there is no rational basis for

denying transgender individuals birth certificates that reflect their gender identity” and with the

Court’s instruction that any rule remedying the constitutional violation found must “withstand

heightened scrutiny review” and must avoid imposing burdens lacking constitutionally-

appropriate justification, Dkt. 39 at 18, 25; and

       (7)     Any bill of costs or motion for attorneys’ fees shall be filed by no later than 45




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days after entry of this judgment; and

       (8)     The Clerk of the Court is directed to close this case.

       IT IS SO ORDERED.

                                                                        April 20, 2018




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